                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      NO. 3:12-00076
                                                  )      JUDGE CAMPBELL
JASON POWELL                                      )

                                          ORDER

       Pending before the Court is Defendant Jason Powell’s Motion To Suppress Search Of

Vehicle (Docket No. 210). The Court will hold a hearing on the Motion on October 3, 2013, at

1:00 p.m.

       It is so ORDERED.

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                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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